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                                 EXHIBIT A

                               Proposed Order
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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO
------------------------------------------------------------------------- x
                                                                          :
In re:                                                                    :
                                                                          :
THE FINANCIAL OVERSIGHT AND                                               : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                         : Title III
                                                                          :
                  as representative of                                    : Case No. 17-BK-3283 (LTS)
                                                                          :
THE COMMONWEALTH OF PUERTO RICO et al.,                                   : (Jointly Administered)
                                                                          :
                  Debtors.1                                               :
------------------------------------------------------------------------- x

      ORDER FURTHER EXTENDING BRIEFING SCHEDULE WITH RESPECT TO
    POTENTIAL MOTION BY OFFICIAL COMMITTEE OF UNSECURED CREDITORS
      SEEKING APPOINTMENT OF TRUSTEE TO PURSUE CAUSES OF ACTION

         Upon the Urgent Joint Motion of Official Committee of Unsecured Creditors, Financial

Oversight and Management Board, and Its Special Claims Committee, to Further Extend

Briefing Schedule With Respect to Potential Motion by Official Committee of Unsecured

Creditors Seeking Appointment of Trustee to Pursue Causes of Action (the “Urgent Motion”);2

and the Court having found and determined that (i) the Court has jurisdiction to consider the

Urgent Motion and the relief requested therein pursuant to section 306(a) of PROMESA; (ii)

venue is proper before this Court pursuant to section 307(a) of PROMESA; (iii) cause exists to

shorten the notice period as requested in the Urgent Motion; and (iv) due and proper notice of the

1
     The Debtors in these Title III cases, along with each Debtor’s respective Title III case number listed as a
     bankruptcy case number due to software limitations and the last four (4) digits of each Debtor’s federal tax
     identification number, as applicable, are the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17-BK-
     3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481), (ii) Employees Retirement System of the Government
     of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last Four Digits of
     Federal Tax ID: 9686), (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
     No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808), (iv) Puerto Rico Sales Tax Financing
     Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of Federal Tax ID:
     8474), and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-4780 (LTS)) (Last
     Four Digits of Federal Tax ID: 3747).
2
     All capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Urgent
     Motion.
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Urgent Motion has been provided under the particular circumstances and no other or further

notice need be provided; and any objections to the relief requested in the Urgent Motion having

been withdrawn or overruled; and after due deliberation and sufficient cause appearing therefor,

it is HEREBY ORDERED THAT:

       1.      The Urgent Motion is granted as set forth herein.

       2.      The deadlines set forth in the Procedures Motion with respect to the filing of a

Section 926 Motion seeking the appointment of a trustee to assert causes of action related to the

Commonwealth are extended as follows:

       a.      The Committee shall file, if necessary, its Section 926 Motion by April 16, 2019

               at 9:30 a.m. (Atlantic Standard Time):

       b.      The Oversight Board’s opposition papers shall be filed by April 19, 2019 at 9:30

               a.m. (Atlantic Standard Time);

       c.      The Committee’s reply papers shall be filed by April 23, 2019 at 9:30 a.m.

               (Atlantic Standard Time); and

       d.      At the April 24, 2019 omnibus hearing, the Oversight Board and the Committee

               shall provide a joint status report that includes proposed deadlines for disclosure

               of causes of action and Section 926 Motion practice in connection with other

               Debtors.

       3.      The Court will hear oral argument on any Commonwealth-related Section 926

Motion by the Committee in connection with the April Omnibus Hearing, which is scheduled to

commence at 9:30 a.m. (Atlantic Standard Time) on April 24, 2019.




                                                 2
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       4.     The Court shall retain exclusive jurisdiction over all matters pertaining to the

implementation, interpretation, and enforcement of this Order.

Dated: April ___, 2019
                                             ____________________________________
                                             HONORABLE LAURA TAYLOR SWAIN
                                             UNITED STATES DISTRICT JUDGE




                                                3
